Case 1:12-cr-00087-MAC-ZJH          Document 128      Filed 02/03/14     Page 1 of 1 PageID #:
                                           404




 UNITED STATES DISTRICT COURT                             EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                      §
                                               §
 versus                                        §           CASE NO. 1:12-CR-87
                                               §
 CALIXTO RUIZ-ALVAREZ                          §


          ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

          On this day, the court considered the Findings of Fact and Recommendation of United

 States Magistrate Judge Zack Hawthorn regarding the Defendant’s plea of guilty to Count Two

 of the Indictment in the above-numbered case. Having conducted a proceeding in the form and

 manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge recommends that the court accept

 the guilty plea of the Defendant. The court is of the opinion that the Findings of Fact and

 Recommendation should be accepted.

          It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

 States Magistrate Judge are ADOPTED.

          It is further ORDERED that the Defendant’s guilty plea and the plea agreement are

 ACCEPTED by the court.

          It is finally ORDERED that the court finds the Defendant guilty on Count Two of the
         .
 Indictment.
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 3rd day of February, 2014.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE
